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10                             IN THE UNITED STATES DISTRICT COURT

11                          FOR THE EASTERN DISTRICT OF CALIFORNIA

12                                       SACRAMENTO DIVISION

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       RALPH COLEMAN, et al.,                                 2:90-cv-00520 KJM-DB (PC)
15
                                            Plaintiffs,       DEFENDANTS’ NOTICE OF APPEAL
16                                                            TO THE UNITED STATES COURT OF
                     v.                                       APPEALS FOR THE NINTH CIRCUIT
17

18     GAVIN NEWSOM, et al.,

19                                        Defendants.

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21          Defendants—Gavin Newsom, Governor of the State of California; Jeff Macomber,

22     Secretary of the California Department of Corrections and Rehabilitation; Joe Stephenshaw,

23     Director of the Department of Finance; Stephanie Clendenin, Director of the Department of State

24     Hospitals; Amar Mehta, Deputy Director for Statewide Mental Health Program; and Diana

25     Toche, Undersecretary for Health Care Services for the California Department of Corrections and

26     Rehabilitation—appeal to the United States Court of Appeals for the Ninth Circuit from this

27     Court’s March 6, 2024 order. (ECF No. 8144.) Defendants also appeal from all earlier, non-final

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                                                     Defendants’ Notice of Appeal (2:90-cv-00520 KJM-DB (PC))

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 1     orders that produced the March 6 order and are merged with it. See Am. Ironworks & Erectors

 2     Inc. v. N. Am. Const. Corp., 248 F.3d 892, 897 (9th Cir. 2001).

 3      Dated: April 4, 2024                                Respectfully submitted,
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 7                                                          /s/ Elise Owens Thorn
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       Dated: April 4, 2024                                  HANSON BRIDGETT LLP
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                                                             /s/ Paul Mello
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                                                     Defendants’ Notice of Appeal (2:90-cv-00520 KJM-DB (PC))

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